Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 1 of 17 Page ID #295



                           UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

 LARRY EDWARD HATFIELD,

                Plaintiff,

        v.                                                Case No. 3:16-cv-00383-JPG-RJD

 JEFFERSON B. SESSIONS, III, in his Official
 Capacity as the Attorney General of the United
 States,

                Defendant.

                                  MEMORANDUM & ORDER

 J. PHIL GILBERT, DISTRICT JUDGE

        Plaintiff Larry Edward Hatfield wants to keep a gun in his home for self-defense. But the

 Government bans him from doing so, because 28 years ago, Hatfield lied on some forms that he

 sent to the Railroad Retirement Board: a felony in violation of 18 U.S.C. § 1001(a). Hatfield later

 pled guilty to one count of violating the statute, an offense for which he received no prison time

 and a meager amount in restitution fees pursuant to a formal plea agreement with the

 Government. Now, Hatfield brings this as-applied challenge to 18 U.S.C. § 922(g)(1)—the

 statute that bans him from owning a gun—on the grounds that it violates his Second Amendment

 rights. Hatfield embeds his argument in United States v. Williams, 616 F.3d 685, 692 (7th Cir.

 2010), which instructed that “[the Supreme Court’s decision in D.C. v. Heller, 554 U.S. 570

 (2008)] referred to felon disarmament bans only as ‘presumptively lawful,’ which, by

 implication, means that there must exist the possibility that the ban could be unconstitutional in

 the face of an as-applied challenge.” If there is any case that rebuts that presumption, it is this

 one. So for the following reasons, the Court GRANTS summary judgment in favor of Plaintiff

 Larry E. Hatfield.

                                                  1
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 2 of 17 Page ID #296



 I.     BACKGROUND

        The facts of this case are undisputed. From August 5, 1989 to January 5, 1990, Hatfield

 completed several claim for benefits forms and sent them to the U.S. Railroad Retirement Board.

 (Def.’s Mot. Summ. J., Ex. A, ECF No. 41-1.) That agency administers benefits for unemployed

 railroad workers pursuant to the Railroad Unemployment Insurance Act. 45 U.S.C. § 351, et seq.

 (Id.) But Hatfield lied on the forms: he claimed that he was unemployed for 53 days when he

 was actually working for the Merchant Management Corporation of St. Louis, Missouri.

 Hatfield wrongfully obtained $1,627.73 from the Railroad Retirement Board because of the lie.

 (Id.) Shortly thereafter, the Government charged Hatfield with one count of making a false

 statement in violation of 18 U.S.C. § 1001(a): a felony.

        Hatfield later pled guilty to the charge following formal plea negotiations with the

 Government. Even though 18 U.S.C. § 1001(a) provides for up to five-years imprisonment for

 each violation, the Government recommended in the amended plea agreement that the court only

 sentence Hatfield to three years’ probation plus restitution in the amount of improper benefits

 received: $1,627.73. The court agreed, and ultimately sentenced Hatfield to those terms. (See

 United States v. Hatfield, No. 3:91-cr-30093.) Since that time, Hatfield has maintained a spotless

 record: he has no mental health issues, he does not drink, he has no drug addictions, and he does

 not even have any traffic citations since his felony conviction. The only other blight in his

 history is a driving while intoxicated charge from the 1980s, which predates the felony charge.

 (Hatfield Dep. 31:24–32:13, ECF No. 41-5.)

        Fast forward nearly three decades and we have a problem. Even though Hatfield received

 a small fine and no prison time for his non-violent statutory felony, 18 U.S.C. § 922(g)(1) bans

 him from owning a gun. That statute makes it unlawful for a person to possess a gun if they have



                                                 2
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 3 of 17 Page ID #297



 been convicted of a crime that is technically punishable by more than one year (i.e. a felony)—

 regardless of the sentence that the individual actually received. Since making a false statement in

 violation of 18 U.S.C. § 1001(a) is punishable by up to five years, Hatfield falls within the

 gambit of § 922(g)(1).

        Hatfield now brings an as-applied challenge to the statute, arguing that it violates his

 Second Amendment rights. His theory is straightforward: the Seventh Circuit has said that “there

 must exist the possibility that the [felon disarmament] ban could be unconstitutional in the face

 of an as applied challenge,” Williams, 616 F.3d at 692, and Hatfield believes that he is the

 perfect challenger. He argues that the Government does not have an important interest in banning

 non-violent felons who received no prison time like him from having a gun. Hatfield also points

 out that while every state he researched has some sort of process to restore Second Amendment

 rights to felons on a case-by-case basis, the federal government does not. Curiously, 18 U.S.C. §

 925(c) does provide a similar mechanism for a federal felon to restore their Second Amendment

 rights through an application to the Attorney General, but Congress has chosen to not fund §

 925(c) since the early 1900s. Accordingly, the only other ways for a felon affected by §

 922(g)(1) to restore his gun rights are (1) through a Presidential pardon, or (2) an expungement

 of the felony.

        The Government moved for summary judgment, arguing that (1) the Second Amendment

 does not protect felons; and (2) even if it does, § 922(g)(1) satisfies intermediate scrutiny as-

 applied to felons like Hatfield. (Def.’s Mot. Summ. J., ECF No. 41-2.) The Court held oral

 argument on the matter, where Hatfield made a cross-motion for summary judgment for the

 reasons stated within his response brief. (See Pl.’s Resp. to Def.’s Mot. Summ. J., ECF No. 47.)

 II.    LEGAL STANDARDS



                                                 3
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 4 of 17 Page ID #298



        Summary judgment must be granted “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

 Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Spath v. Hayes

 Wheels Int'l-Ind., Inc., 211 F.3d 392, 396 (7th Cir. 2000). The Court must construe the evidence

 in the light most favorable to the nonmoving party and draw all reasonable inferences in favor of

 that party. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986); Chelios v. Heavener,

 520 F.3d 678, 685 (7th Cir. 2008); Spath, 211 F.3d at 396.

 III.   ANALYSIS

        The Second Amendment commands: “A well regulated Militia, being necessary to the

 security of a free State, the right of the people to keep and bear Arms, shall not be infringed.”

 Second Amendment rights, however, are not dependent on militia service: the amendment

 chiefly protects “the right to keep and bear arms for the purpose of self-defense.” McDonald v.

 City of Chicago, Ill., 561 U.S. 742, 750 (2010) (citing District of Columbia v. Heller, 554 U.S.

 570 (2008)). Heller explained that while the militia clause announced one purpose of the

 amendment’s codification—to prevent the new federal government from disarming and

 oppressing the People, much like the English tried to do to the American Colonies—it had little

 to do with the central component of the “ancient right” to bear arms itself, which includes

 primary purposes like “self-defense and hunting.” Heller, 554 U.S. at 599.

        Heller gave birth to this case through a much-discussed footnote in the opinion. First,

 Heller instructs that nothing in the opinion “should be taken to cast doubt on longstanding

 prohibitions on the possession of firearms by felons.” Heller, 554 U.S. at 626–27. But then, a

 footnote attached to that same paragraph reads: “We identify these presumptively lawful




                                                 4
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 5 of 17 Page ID #299



 regulatory measures only as examples; our list does not purport to be exhaustive.” Id. at 627 n.26

 (emphasis added). The Seventh Circuit has already noted this dichotomy:

                  But the government does not get a free pass simply because
                  Congress has established a “categorical ban”; it still must prove
                  that the ban is constitutional, a mandate that flows from Heller
                  itself. Heller referred to felon disarmament bans only as
                  “presumptively lawful,” which, by implication, means that there
                  must exist the possibility that the ban could be unconstitutional in
                  the face of an as-applied challenge. Therefore, putting the
                  government through its paces in proving the constitutionality of §
                  922(g)(1) is only proper.

 United States v. Williams, 616 F.3d 685, 692 (7th Cir. 2010) (internal citation omitted).

         The Seventh Circuit has since adopted a two-step inquiry for Second Amendment claims:

 (1) does the challenged statute cover conduct that falls within the Second Amendment’s

 protections; and (2) if so, does the statute survive “some level of heightened scrutiny”? Baer v.

 Lynch, 636 F. App'x 695, 698 (7th Cir. 2016). The case law applying this test, however, is

 messy. Some cases refuse to analyze step one and immediately jump to step two. Id.; United

 States v. Skoien, 614 F.3d 638 (7th Cir. 2010) (en banc);1 Williams, 616 F.3d 685; Horsley v.

 Trame, 808 F.3d 1126 (7th Cir. 2015). One case blends the two steps together. United States v.

 Yancey, 621 F.3d 681 (7th Cir. 2010). Another case jumps the ship and asks if the challenged

 regulation has “some reasonable relationship to the preservation or efficiency of a well regulated

 militia,” a test which contradicts Heller itself. Friedman v. City of Highland Park, Illinois, 784

 F.3d 406, 410 (7th Cir. 2015). There is only one case—Ezell v. City of Chicago, 651 F.3d 684,

 700–04 (7th Cir. 2011)—that engages in a thorough analysis of both steps.2




 1
   Judge Sykes, dissenting, stated that the Skoien majority “declines to be explicit about its decision method, sends
 doctrinal signals that confuse rather than clarify, and develops its own record to support the government's
 application of § 922(g)(9) . . . .” 614 F.3d at 647 (Sykes, J., dissenting).
 2
   Judge Sykes wrote the majority opinion in Ezell—one year after her dissent in Skoien.

                                                          5
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 6 of 17 Page ID #300



        Despite this entanglement, it is possible to boil down the relevant case law to two steps.

 First, does the Second Amendment protect felons in the same class as Hatfield? Second, if the

 Second Amendment does protect felons like Hatfield, does § 922(g)(1) survive “some level of

 heightened scrutiny”?

        A.     Step One: The Second Amendment and Felons

        The Second Amendment protects the “right of the people” to bear arms. The question at

 step one is simple: is Hatfield one of “the people” shielded by the amendment? Does the

 amendment protect all adult people in the United States? “The people” minus all felons? “The

 people” minus violent felons? Some other subset of “the people”?

        The answer, unfortunately, is not so simple. In 2016, the Seventh Circuit stated:

               We have not decided if felons historically were outside the scope
               of the Second Amendment's protection and instead have focused
               on whether § 922(g)(1) survives intermediate scrutiny. Williams,
               616 F.3d at 692; see also United States v. Yancey, 621 F.3d 681,
               684–85 (7th Cir. 2010) (noting that “scholars continue to debate
               the evidence of historical precedent for prohibiting criminals from
               carrying arms”).

 Baer, 636 F. App’x at 698. Baer sums up the pattern in Seventh Circuit cases: avoid answering

 step one instead jump ahead to step two—the intermediate scrutiny analysis—because the

 challengers in those cases resoundingly failed there anyways. See, e.g., Baer, 636 F. App'x 695

 (a convicted robber failing at the intermediate scrutiny stage); Williams, 616 F.3d at 693–94

 (another convicted robber failing at the intermediate scrutiny stage); Skoien, 614 F.3d at 641–45

 (a plaintiff with two convictions for misdemeanor crimes of domestic violence failing at the

 intermediate scrutiny stage of a § 922(g)(9) challenge); Horsley, 808 F.3d at 1131 (“We need not

 decide today whether 18–, 19–, and 20–year–olds are within the scope of the Second




                                                 6
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 7 of 17 Page ID #301



 Amendment . . . [e]ven if they are, our next step would be to turn to means-ends scrutiny of the

 regulation.”) (internal citation omitted).

        Ezell, 651 F.3d 684, is the only case to apply a strong framework to step one. This Court

 will follow Ezell’s lead. That case dealt with a challenge to a Chicago ordinance that banned

 firing-ranges in the city, but also mandated those applying for gun licenses to have firing-range

 training—effectively banning many people from obtaining gun licenses. Id. at 690–92.

 Accordingly, the question at step one was whether “range training is categorically unprotected by

 the Second Amendment.” Id. at 704. The Ezell court centered the burden of persuasion on this

 question on the government:

                Accordingly, if the government can establish that a challenged
                firearms law regulates activity falling outside the scope of the
                Second Amendment right as it was understood at the relevant
                historical moment—1791 or 1868—then the analysis can stop
                there; the regulated activity is categorically unprotected, and the
                law is not subject to further Second Amendment review. If the
                government cannot establish this—if the historical evidence is
                inconclusive or suggests that the regulated activity is not
                categorically unprotected—then there must be a second inquiry
                into the strength of the government's justification for restricting or
                regulating the exercise of Second Amendment rights.

 Id. at 702–03. So applying the Ezell framework to this case, the Government must prove at step

 one that nonviolent felons like Hatfield are categorically unprotected by the Second Amendment.

        Heller is the first place to start when analyzing this question. Justice Scalia, writing for

 the majority, broke the amendment into several clauses—one of which was “Right of the

 People.” Heller, 554 U.S. 579–80. This term of art appeared in three amendments: The First

 Amendment’s Assembly-and-Petition Clause, the Second Amendment, and the Fourth

 Amendment’s Search-and-Seizure Clause. Id. Heller explained that given the context of these

 amendments, the Second Amendment must necessarily protect an individually held right—just



                                                  7
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 8 of 17 Page ID #302



 like the First and Fourth Amendments—rather than some sort of collective right that requires

 participation in a group. And although “right of the people” appears in three other provisions of

 the Constitution—the preamble (“We the people”), Article I, and the Tenth Amendment—Heller

 placed those provisions in a separate category because they dealt with the exercise or reservation

 of powers—not individual rights. Id. at 580–81.

        Next, Heller noted that in all of the above mentioned provisions of the Constitution, “the

 people” refers “unambiguously to all members of the political community, not an unspecified

 subset.” Heller, 554 U.S. at 580.

                ‘[T]he people’ seems to have been a term of art employed in select
                parts of the Constitution . . . [Its uses] sugges[t] that ‘the people’
                protected by the Fourth Amendment, and by the First and Second
                Amendments, and to whom rights and powers are reserved in the
                Ninth and Tenth Amendments, refers to a class of persons who are
                part of a national community or who have otherwise developed
                sufficient connection with this country to be considered part of that
                community.

 Id. (quoting United States v. Verdugo–Urquidez, 494 U.S. 259, 265 (1990)). Accordingly, Heller

 announced a “strong presumption that the Second Amendment right is exercised individually and

 belongs to all Americans.” Id. at 581 (emphasis added). That view comports with the

 predecessor to the Second Amendment: the 1689 English Declaration of Rights. The declaration

 states: “[t]hat the Subjects which are Protestants, may have Arms for their Defence suitable to

 their Conditions, and as allowed by Law.” Id. at 592. Heller clarified that even though these

 rights were limited to Protestants, “it was secured to them as individuals, according to

 ‘libertarian political principles,’ not as members of a fighting force.” Heller, 554 U.S. at 593. To

 summarize, if the Supreme Court has announced that there is a presumption that Second

 Amendment rights belong to all Americans—a category which would include felons—then this

 Court is bound to follow that presumption, unless the Government can rebut it.

                                                   8
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 9 of 17 Page ID #303



        The Government has pointed to several authorities in an attempt to carry their burden.

 One of these authorities is “The Address and Reasons of Dissent of the Minority of the

 Convention of the State of Pennsylvania to Their Constituents, 1787,” which Heller identified as

 a “highly influential” precursor to the Second Amendment. Heller, 554 U.S. 570 at 604; Skoien,

 614 at 640. It states that “the people have a right to bear arms for the defense of themselves and

 their own State, or the United States, or for the purpose of killing game; and no law shall be

 passed for disarming the people or any of them unless for crimes committed, or real danger

 of public injury from individuals . . . .” Id. (emphasis added). The Government also points to

 Yancey, which explained that “most scholars of the Second Amendment agree that the right to

 bear arms was tied to the concept of a virtuous citizenry and that, accordingly, the government

 could disarm ‘unvirtuous citizens.’” 621 F.3d at 684–85. That ties into another case—United

 States v. Emerson, 270 F.3d 203 (5th Cir. 2001)—which explained that scholarly sources on this

 issue indicate that “Colonial and English societies of the eighteenth century . . . excluded . . .

 felons [from possessing firearms]” and “the Founders [did not] consider[] felons within the

 common law right to arms or intend[] to confer any such right upon them.” 270 F.3d at 226 n.21.

        The Government has fallen on their own sword by relying on these cases: at the time of

 the founding, English common-law felonies consisted of murder, rape, manslaughter, robbery,

 sodomy, larceny, arson, mayhem, and burglary. Jerome v. United States, 318 U.S. 101, 108 n.6

 (1943); Wayne R. LaFave, Criminal Law, § 2.1(b) (5th ed. 2010). So if the Founders intended to

 allow Congress to disarm unvirtuous felons, that intent would have necessarily been limited to

 individuals convicted of one of those nine felonies. Hatfield, however, violated a statutory felony

 that Congress created in 1948: making a false statement in breach of 18 U.S.C. § 1001. That

 offense is most similar to the common law offense of forgery, which first arose in 1727 as a



                                                 9
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 10 of 17 Page ID #304



  misdemeanor—not a felony. Jerome, 318 U.S. at 109 n.7; LaFave, supra.3 Critics of this

  approach may complain that we do not read constitutional rights this way—for example, the

  Fourth Amendment prohibition against unreasonable searches now applies to electronic devices

  that the Founders did not contemplate, and the First Amendment covers forms of communication

  that the Founders did not contemplate. But those scenarios are entirely different: they consider

  the expansion of constitutional rights that protect the people over time, whereas the Government

  here is attempting to shrink Second Amendment rights of the people.

           And on a similar note, if the Court accepts the Government’s position, it would lead to a

  harebrained outcome in which the Founders meant to allow Congress to inadvertently disarm the

  people by passing gobs of statutory felonies not contemplated at the common law, such as

  making a false statement (18 U.S.C. § 1001(a)); depositing merchandise in a building upon the

  boundary line between the United States and any foreign country (18 U.S.C. § 547); operating or

  holding any interest in a gambling establishment on a ship (18 U.S.C. § 1082); transporting

  lottery tickets across state lines when one state forbids lottery tickets (18 U.S.C. § 1301); mailing

  indecent matter on the outside of an envelope (18 U.S.C § 1463); possessing contraband

  smokeless tobacco (18 U.S.C. § 2342(a)); defacing any marks or numbers placed upon packages

  in a warehouse (18 U.S.C § 548); and more.

           Even if the Founders did intend for such a result, the Government has certainly not

  carried their burden and established as much: they dedicate a mere two paragraphs of their

  motion for summary judgment to the historical record and have introduced zero evidence to

  actually develop that record. (Def.’s Mot. Summ. J. 14–15, ECF No. 41-1.) And even if the

  Court views the available historical record in the light most favorable to the Government, that

  3
   “The essential elements of the common law crime of forgery are (1) a false making of some instrument in writing;
  (2) a fraudulent intent; [and] (3) an instrument apparently capable of effecting a fraud.” Vizcarra-Ayala v. Mukasey,
  514 F.3d 870, 874 (9th Cir. 2008) (internal citation omitted).

                                                           10
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 11 of 17 Page ID #305



  record is inconclusive—meaning the Government has failed at step one. See Skoien, 614 F.3d at

  647 (Sykes, dissenting) (“the historical evidence [on whether the Second Amendment protected

  felons] is inconclusive at best.”); Yancey, 621 F.3d at 684–85 (comparing academic sources on

  the matter); Ezell, 651 F.3d at 702–03 (“if the historical evidence is inconclusive or suggests that

  the regulated activity is not categorically unprotected—then there must be a second inquiry into

  the strength of the government's justification for restricting or regulating the exercise of Second

  Amendment rights.”).

         B.      Step Two: “Second Amendment Scrutiny”

         The next step is to determine whether § 922(g)(1) survives some form of heightened

  scrutiny as-applied to nonviolent felons like Hatfield. The Seventh Circuit has not been clear on

  which level of scrutiny to apply. Skoien points to intermediate scrutiny: the statute “is valid only

  if substantially related to an important governmental objective.” Skoien, 614 F.3d at 641.

  Williams also instructs that intermediate scrutiny should apply. 616 F.3d at 692. But Ezell—

  which postdates both Skoein and Williams—complicated the matter:

                 First, a severe burden on the core Second Amendment right of
                 armed self-defense will require an extremely strong public-interest
                 justification and a close fit between the government's means and its
                 end. Second, laws restricting activity lying closer to the margins of
                 the Second Amendment right, laws that merely regulate rather than
                 restrict, and modest burdens on the right may be more easily
                 justified. How much more easily depends on the relative severity
                 of the burden and its proximity to the core of the right.

  Ezell, 651 F.3d at 708. Ezell explained that intermediate scrutiny was appropriate in Skoien

  because that case did not involve the central self-defense component of the Second Amendment.

  Id. That distinguishes Skoien from this case: Hatfield wants to keep and bear arms in his home

  for self-defense. (Compl. ¶ 11, ECF No. 1.) Nevertheless, the Government asks the Court to

  apply intermediate scrutiny. (Def.’s Mot. Summ. J. 13, ECF No. 41-1.)

                                                  11
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 12 of 17 Page ID #306



         The Court, however, must apply an Ezell analysis. That case postdates and distinguishes

  itself from Skoien, and if the Court ignores it, then the Court would be in breach of its duty to

  follow Seventh Circuit precedent. Accordingly, the Government here must show (1) an

  extremely strong public-interest justification for banning non-violent felons who received no

  prison time from possessing firearms for self-defense purposes; and (2) a close fit between that

  purpose and § 922(g)(1). Ezell, 651 F.3d at 708. This standard is murky: it is higher than

  intermediate scrutiny—which only requires an important government interest that is substantially

  related to the challenged statute—but it is necessarily lower than strict scrutiny, which requires a

  compelling government interest and a statute that is narrowly tailored to meet that interest. See

  Reed v. Town of Gilbert, Ariz., 135 S. Ct. 2218, 2231, 192 L. Ed. 2d 236 (2015) (explaining strict

  scrutiny).

                 i.      Purpose: an “extremely strong” public interest justification

         The Government’s argument here is simple: they have an “obviously important” interest

  in curbing crime by keeping firearms from criminals. See Barrett v. United States, 423 U.S. 212,

  218 (1976) (the principal objective of § 922(g)(1) is “to keep firearms away from the persons

  Congress classified as potentially irresponsible and dangerous.”); Small v. United States, 544

  U.S. 385, 393 (2005) (§ 922(g)(1) “keep[s] guns out of the hands of those who have

  demonstrated that they may not be trusted to possess a firearm without becoming a threat to

  society.”); Hamilton v. Pallozzi, 848 F.3d 614, 626 (4th Cir. 2017) (“Where the sovereign has

  labeled the crime a felony, it represents the sovereign’s determination that the crime reflects

  grave misjudgment and maladjustment.”) The Government believes that the distinction between

  violent and non-violent offenders is irrelevant here because “irrespective of whether the offense

  was violent in nature . . . a felon has shown manifest disregard for the rights of others.” United



                                                  12
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 13 of 17 Page ID #307



  States v. Everist, 368 F.3d 517, 519 (5th Cir. 2004). Hatfield objects, arguing that since this is an

  as-applied challenge, the Government must focus on Hatfield’s individual circumstances rather

  than felons—violent or not—in the aggregate.

         Both parties have erred. As an initial matter, the Government is correct that they do not

  have to focus on Hatfield’s specific circumstances: when combating as-applied challenges, the

  Court focuses “on the relation [the statute] bears to the overall problem the government seeks to

  correct, not on the extent to which it furthers the government's interests in an individual case.”

  Ward v. Rock Against Racism, 491 U.S. 781, 801 (1989); see also United States v. Edge Broad.

  Co., 509 U.S. 418, 431 (1993). But here, the Government has characterized the “problem” far too

  broadly. If the Court only considers felons in the aggregate, then there would be no distinction

  between an as-applied challenge to § 922(g)(1) and a facial challenge. And even if the Court

  narrows the scope to non-violent felons, it is still not enough—there are scores of non-violent

  felons in this country, all with massive discrepancies in prison sentences, fines, restitution

  payments, and more. Accordingly, the Court holds that the “class” of as-applied challengers here

  should be more specific to Hatfield’s general circumstances: non-violent felons who received no

  prison time and a small monetary fine for their offense. That distinguishes this case from a

  recently failed § 922(g)(1) challenge in the Eastern District of Wisconsin, where the challenger

  had received twelve months and one day in jail plus a $50,000 fine. See Kanter v. Sessions, No.

  16-C-1121, 2017 WL 6731496, at *1 (E.D. Wis. Dec. 29, 2017).

         With that principle in mind, the Government has failed to show an “extremely strong

  public-interest justification” for banning non-violent felons who received no prison time from

  owning a gun for self-defense purposes. Rather, Hatfield is correct that the Government has

  engaged in an “abdication of their obligations” here: the Government—instead of focusing on a



                                                   13
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 14 of 17 Page ID #308



  narrow class of as-applied challengers—rests their position on the broad idea that since felons

  have shown a “manifest disregard for the rights of others,” the Government may immediately

  strip them of their Second Amendment rights. The Government seems to think this is the case

  even if they cut a plea deal with the felon that recommended zero days in prison, like they did

  with Hatfield. It is absolutely impossible to reconcile the Government’s positions here that (1) a

  specific felon is so harmless that the felon does not need to go to prison for their felony

  conviction, but also (2) the felon is so dangerous that they should be stripped of their right to

  own a gun and defend their home. This type of logical inconsistency shows that the Government

  is not taking the Second Amendment seriously. The Second Amendment has to mean something

  as a matter of law, policy debates aside. Overbroad policies ignoring a constitutional amendment

  are inexcusable.

                 ii.    The fit between the Government’s purpose and § 922(g)(1)

  Even if the Government demonstrated an extremely strong public interest justification, they

  nevertheless fail at the next requirement: a close fit between their purpose and § 922(g)(1). The

  Government’s arguments on purpose and fit blend together: they rely on the same cases that

  explain § 922(g)(1) keeps guns away from those Congress has labeled as irresponsible and

  dangerous. See, e.g., Barrett, 423 U.S. at 218; Small, 544 U.S.at 393; Hamilton, 848 F.3d at 626.

  The Government also commands that the Court should award Congress “substantial deference”

  here because Congress is “better equipped than the judiciary to make predictive judgments . . .

  upon complex and dynamic issues.” Turner Broad. Sys. Inc. v. FCC, 520 U.S. 180, 195 (1997);

  Nat'l Rifle Ass'n of Am., Inc. v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d

  185, 210, n.21 (5th Cir. 2012); (Def.’s Mot. Summ. J. 18, ECF No. 41-1.)




                                                 14
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 15 of 17 Page ID #309



         The history of § 922(g)(1) highlights the irrationality of the Government’s position. The

  Federal Firearms Act of 1938—the first major piece of federal legislation on this matter—only

  banned those “convicted of a crime of violence” from owning guns. PL 75-785, June 30, 1938,

  52 Stat. 1250. That legislation did not reach non-violent offenders, like Hatfield. In 1961,

  Congress amended the statute to substitute “crime punishable by imprisonment for a term

  exceeding one year” for “crime of violence”—meaning the statute now reached all felons,

  regardless of their underlying crime. United States v. Weatherford, 471 F.2d 47, 51–52 (7th Cir.

  1972). The Senate Report indicates that the purpose of the amendment was to “make it more

  difficult for the criminal elements of our society to obtain firearms.” Id.

         The caveat: six years later, Congress passed the Omnibus Crime Control and Safe Streets

  Act of 1968. That Act cemented § 922(g)(1) into its current form. But the Act also crafted

  something else: 18 U.S.C. § 925(c), a relief valve for felons impacted by § 922(g)(1) to restore

  their firearm rights by application to the Attorney General. Specifically, if the Attorney General

  (through the Bureau of Alcohol, Tobacco, Firearms, and Explosives [ATF]) determines that a

  felon is not “likely to act in a manner dangerous to public safety and that the granting of the

  relief would not be contrary to the public interest,” then the Attorney General may restore the

  felon’s firearm rights. The statute also provides for judicial review of the Attorney General’s

  decision. § 925(c) is a tacit admission by Congress that § 922(g)(1) is overbroad by facially

  applying to all felons regardless of their underlying crime or circumstances—indicating a bad fit

  between § 922(g)(1) and the Government’s purpose of keeping firearms out of the hands of

  dangerous criminals who may create armed mayhem.

         If the Government argued here that § 925(c) is a relief valve that saves § 922(g)(1)’s poor

  fit, then they could have won this case. But the Government was foreclosed from bringing that



                                                   15
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 16 of 17 Page ID #310



  argument because Congress stopped funding § 925(c) in 1992—transforming what should have

  been a simple administrative proceeding into constitutional litigation. See PL 102–393, October

  6, 1992, 106 Stat. 1729; United States v. Bean, 537 U.S. 71, 74 (2002). For example, in Bean, the

  challenger applied to ATF for a restoration of his firearm rights pursuant to § 925(c). Id. at 73.

  ATF, however, was forced to return the application and explained that the appropriations laws

  prevented the Bureau from expending funds on § 925(c) applications. The challenger then filed

  suit in federal court, relying on the judicial review provision in the statute. The Supreme Court

  denied the challenge, and explained that pursuant to the Administrative Procedure Act, federal

  courts could not engage in judicial review of the agency decision without an actual denial by the

  agency. Id. at 76–77. And in Bean, ATF did not deny the application—they merely returned it to

  Bean because of a lack of funding for § 925(c).

         The Government indicated at oral argument that Bean has resolved the § 925(c) issue.

  The Government is wrong. Bean was a pre-Heller decision that analyzed when judicial review of

  an agency decision was appropriate under the Administrative Procedure Act. This case is post-

  Heller, and instead centers on an as-applied constitutional challenge to § 922(g)(1). Hatfield has

  not asked for a review of any agency decision, but rather asks the Court to declare that §

  922(g)(1) is unconstitutional as-applied to him—the only thing he can do at this point, short of a

  presidential pardon. And Hatfield is correct: the Government has not demonstrated (1) an

  extremely strong public-interest justification for banning non-violent felons who received no

  prison time from possessing firearms for self-defense purposes, and (2) a close fit between that

  purpose and § 922(g)(1).




                                                    16
Case 3:16-cv-00383-JPG-RJD Document 49 Filed 04/26/18 Page 17 of 17 Page ID #311



                                           CONCLUSION

         In the end, the Government’s position in this case was peculiar. In the early 1990s, they

  recommended to the sentencing court that Larry Hatfield should receive zero months in prison

  for his crime: making a false statement to the Railroad Retirement Board, a statutory felony

  arising over 150 years after the Founders penned the Second Amendment. Hatfield has

  maintained a spotless record since his felony conviction. But now, the Government argues that

  Mr. Hatfield—and nonviolent felons in similar shoes—are so dangerous to society that they

  simply should not be able to enjoy their constitutional right to keep a gun in their homes for self-

  defense. Those two positions are irreconcilable. And not only that, the Government insists that

  this is not a matter for the federal courts to touch, but rather should be left to the other branches

  of government via a mechanism like 18 U.S.C. § 925(c)—which Congress does not even fund

  anymore. But while reasonable minds throughout the Government and the people may disagree

  on gun rights as a policy matter, they cannot ignore the Second Amendment in the process.

         So for the foregoing reasons, the Court DENIES the motion for summary judgment by

  Jefferson B. Sessions, III, in his Official Capacity as the Attorney General of the United States

  (Doc. 41), GRANTS Larry Edward Hatfield’s motion for summary judgment (See Docs. 47, 48);

  and DECLARES that 18 U.S.C. § 922(g)(1) is an unconstitutional violation of the Second

  Amendment as-applied to Larry Edward Hatfield: a non-violent felon who received no prison

  time for his offense.

  IT IS SO ORDERED.

  DATED: APRIL 26, 2018

                                                                s/ J. Phil Gilbert
                                                                J. PHIL GILBERT
                                                                DISTRICT JUDGE



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